Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 1 of 16 PageID #:1519

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   1                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION
   3
       UNITED STATES OF AMERICA,                )
   4                                            )
                             Plaintiff,         )
   5                                            )
       -vs-                                     )
   6                                            )   Case No. 09 CR 383
                                                )
   7 ALFREDO VASQUEZ-HERNANDEZ and              )   Chicago, Illinois
     TOMAS AREVALO-RENTERIA,                    )   November 20, 2013
   8                                            )   10:27 a.m.
                       Defendants.              )
   9
 10                          TRANSCRIPT OF PROCEEDINGS
                        BEFORE THE HONORABLE RUBEN CASTILLO
 11
       APPEARANCES:
 12
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 13                                United States Attorney
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 21    Court Reporter:
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Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 2 of 16 PageID #:1520

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   1   APPEARANCES: (Continued)
   2   For the Defendant
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Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 3 of 16 PageID #:1521

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   1         (Proceedings heard in open court:)
   2               THE CLERK: 09 CR 383, United States versus Alfredo
   3   Vasquez-Hernandez and Tomas Arevalo-Renteria.
   4               THE COURT: Good morning.
   5               MR. SHAKESHAFT: Good morning, your Honor. Tom
   6   Shakeshaft on behalf of the United States.
   7               MR. HERNANDEZ: Good morning, your Honor. Arturo
   8   Hernandez on behalf of Mr. Vasquez-Hernandez he's on his way
   9   into court to be assisted by the court interpreter.
 10                MR. BRAYMAN: Paul Brayman and Lisa Wood also on
 11    behalf of Mr. Vasquez-Hernandez. Good morning, your Honor.
 12                THE COURT: Good morning.
 13                MR. CHERONIS: Good morning, your Honor. Damon
 14    Cheronis on behalf of Mr. Arevalo-Renteria who's present.
 15                THE COURT: Okay.
 16                THE INTERPRETER: Good morning, your Honor. Jose
 17    Pina, P-i-n-a, Spanish interpreter.
 18                THE COURT: Okay. Let's swear in our interpreter.
 19           (Interpreter sworn.)
 20                THE COURT: Okay. So I have before me now, not
 21    surprisingly, an unopposed motion to continue the trial date
 22    where Mr. Brayman has flushed out more of this conflict with
 23    the case of People versus Brent Betterly.
 24                I will tell you that after carefully considering it,
 25    I will reluctantly move my trial date into February. That's
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 4 of 16 PageID #:1522

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   1   the best that I can do. So will you be free February 18th?
   2               MR. BRAYMAN: Judge, I'm in a case before Judge Tharp
   3   that's supposed to start --
   4               THE COURT: See, let me just tell you this, if this
   5   is going to be the problem, then we're going to hold the trial
   6   date. So those are going to be your choices because I'm not
   7   going to play any other game with these defendants.
   8               MR. HERNANDEZ: Just for the record, your Honor,
   9   could we have the end of February? I am --
 10                THE COURT: Let me just tell you, this is not a movie
 11    theater where you just come to whatever showing you want.
 12    This is not the way it works here.
 13                MR. HERNANDEZ: Absolutely.
 14                THE COURT: So it's February 18th or it's January
 15    21st. Those are the options. It's either A or B.
 16                THE CLERK: You have a new panel on the 24th.
 17                THE COURT: What?
 18                THE CLERK: You have a new panel on the 24th.
 19                THE COURT: I think we're going to get a special
 20    panel for this group.
 21                MR. HERNANDEZ: The reason I was going to say, your
 22    Honor, I had a personal reason, I had some medical issues that
 23    I was tending to. I advised the Court earlier in the
 24    proceedings, and then --
 25                THE COURT: See, this is the road that I don't want
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 5 of 16 PageID #:1523

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   1   to go down of as soon as you start moving dates, everybody's
   2   got problems. That's a road that I cannot go down, gentlemen.
   3               So I'm willing to accommodate this reluctantly, but
   4   I'm easily going to be here January 21st and ready to go. So
   5   do you want this continuance or do you not?
   6               MR. BRAYMAN: Judge, if those are the two choices,
   7   I'll take B.
   8               MR. CHERONIS: Your Honor, I --
   9               THE COURT: See?
 10                MR. CHERONIS: Well, I didn't bring the motion. I
 11    didn't have an objection to it. I do have a trial that is
 12    starting before Judge Feinerman that was already continued
 13    once. My client's out of custody, but it's a case that --
 14                THE COURT: Well, we've got two defendants in custody
 15    for how long?
 16                MR. CHERONIS: No, I understand, your Honor. I'm not
 17    quarreling with the Court. I understand your position. It's
 18    just that I have a case -- I have a case that's going
 19    March 3rd, and I don't know if Judge Feinerman would be
 20    willing to move that case, but I don't think I can ask him
 21    again.
 22                THE COURT: You don't think we'd be done by then?
 23                MR. CHERONIS: I don't know. I mean, if we would be
 24    done, I think that if this case starts the 18th --
 25                THE COURT: I think we'd be done.
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 6 of 16 PageID #:1524

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   1               MR. SHAKESHAFT: Your Honor, the only -- I'm happy
   2   either time. The government will be ready to go.
   3               I -- there is one beyond-just-scheduling-with-counsel
   4   issue that I did want to bring to your Honor's attention,
   5   which is that there is -- we anticipate, the government
   6   anticipates calling a couple of additional witnesses who I
   7   have -- principally with relation to Mr. Vasquez who I have
   8   known about and generically informed counsel about since the
   9   spring.
 10                THE COURT: Okay.
 11                MR. SHAKESHAFT: They are in other districts that I
 12    do not control.
 13                I have been informed -- and I have yet to be
 14    authorized to disclose their identities or -- or information
 15    that would go to -- that would allow them to be identified.
 16                I expect that to come by the end of this month or in
 17    early -- I was already prepared to ask your Honor for a
 18    one-week extension. I set a self-imposed, having your Honor
 19    set a December 6th deadline for the disclosure.
 20                THE COURT: Right.
 21                MR. SHAKESHAFT: These two witnesses go to just about
 22    all of the filings, the 404(b), the supplemental Santiago
 23    proffer. On top of the fact that I am not yet in possession
 24    of -- they are in other districts controlled by other agents.
 25                I think it's only a week, but I share your Honor's
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 7 of 16 PageID #:1525

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   1   desire to, when we do go to trial, make this as fair and
   2   efficient as possible, and I don't want to be delaying
   3   discovery any more than necessary.
   4               So I didn't oppose Mr. Brayman's motion on his -- on
   5   the basis of his schedule. I am a little -- I do see some
   6   pretrial litigation coming, your Honor. You were correct two
   7   weeks ago saying there were no pending motions before you, but
   8   we had set the December 6th deadline that will involve, I
   9   don't yet know what the defendants' positions are, for
 10    example, on the Santiago proffer if they have any objection to
 11    that.
 12                There may be litigation over the 404(b), the
 13    admissibility of that, and I expect there will be some
 14    litigation over the substance and scope of cross-examination
 15    of some of the government's witnesses. It should come as no
 16    great surprise that the organization that is involved here,
 17    there's some baggage with the witnesses.
 18                I, we can -- we can go January 21st and the
 19    government will be ready; but I'm trying to be fair to defense
 20    counsel here over witnesses that I don't control. So for
 21    those reasons, I think if we can do February 18th, I think it
 22    inures to everybody's benefit so we're not completely -- I'm
 23    trying to be fair to the defense counsel here as well as your
 24    Honor's schedule.
 25                So that's the only additional consideration that the
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 8 of 16 PageID #:1526

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   1   government would add substantively as to certain discovery
   2   that the government may need another week to accommodate; and
   3   if we kick the trial date by a month, I think that gets rid of
   4   the issue.
   5               THE COURT: So if it's February 18th, that
   6   automatically is going to kick the date, right?
   7               MR. SHAKESHAFT: Well, not -- I'm holding myself to
   8   the December 6th deadline. If I am allowed to --
   9               THE COURT: Okay.
 10                MR. SHAKESHAFT: I've told counsel, I will produce
 11    discovery as soon as I have it available.
 12                THE COURT: Okay.
 13                MR. SHAKESHAFT: I'm not withholding it for any -- I
 14    represent that both to the Court and to counsel. This is
 15    really an issue of --
 16                THE COURT: Okay.
 17                MR. SHAKESHAFT: -- the international
 18    interjurisdictional aspect of it.
 19                THE COURT: Got it.
 20                Well, I thought I was coming out here with good news
 21    for you that I'm willing to continue the trial date. It's
 22    totally different than the position I took last time, but I'm
 23    sensing, you know, a problem with February 18th.
 24                MR. BRAYMAN: Judge, I don't -- I guess if those are
 25    the only two choices, I'm just asking you to consider, you
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 9 of 16 PageID #:1527

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   1   know, my being in private practice, I'm going to be on trial
   2   in that NATO case starting January. It's probably going to
   3   last a month.
   4               THE COURT: Right.
   5               MR. BRAYMAN: And to get ready for this case, you
   6   know, by February 18th puts an enormous burden on me and to
   7   try that case, which will probably last a month.
   8               I just know other counsel in this case, you know, are
   9   available, you know, April, and I would just ask your Honor to
 10    at least give me some consideration for preparing for this
 11    case, rather than just trying to do it at the last minute,
 12    which really isn't fair to the defendant.
 13                And, you know, I know -- I don't know what your
 14    Honor's trial schedule is, but that would certainly be an
 15    accommodation to me, not to have to be under that kind of
 16    pressure to try a case all of January and probably going into
 17    February and then have to get ready for this case.
 18                THE COURT: Well, let me just peek at this. If I
 19    started the trial on March 10th, is that going to pose
 20    problems?
 21                MR. BRAYMAN: Judge, any date that you go further out
 22    poses less problems obviously, and if March 10th is an option,
 23    I would certainly ask for that March 10th date if that's the
 24    only option at this point.
 25                MR. CHERONIS: If I could just interject, your Honor?
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 10 of 16 PageID #:1528

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   1               THE COURT: Yes.
   2               MR. CHERONIS: I'm trying to be as quiet as possible.
   3               THE COURT: Right.
   4               MR. CHERONIS: My only issue is I'm starting a jury
   5    trial in front of Judge Feinerman. It's a public corruption
   6    case with Mario Moreno and Ambrosio Medrano are the
   7    co-defendants. I did speak with Mr. Stetler obviously prior
   8    as to what the trial schedule would be. He thinks it's going
   9    to be probably over a week. I know that I plan on presenting.
  10               THE COURT: That starts when?
  11               MR. CHERONIS: We are picking the jury on Monday,
  12    March 3rd, and I know I'm presenting a case, which I don't
  13    always do, but I am presenting a case. We'll see how in-depth
  14    it is.
  15               And then I would find myself, and I understand the
  16    Court's issues, but then I would find myself exactly in the
  17    position Mr. Brayman's in, trying two pretty large
  18    back-to-back trials. I'm also in private practice. So I just
  19    want to raise that to the Court's attention.
  20               And I don't know if Judge Feinerman would have an
  21    issue even moving that again based on the fact that my
  22    client's not in custody; but I would be, I think, in some hot
  23    water to walk into the court and try to seek another
  24    continuance before Judge Feinerman. I'm just bringing to your
  25    attention, your Honor.
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 11 of 16 PageID #:1529

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   1               MR. SHAKESHAFT: I'm cognizant of everybody's issues,
   2    your Honor, and most of all your Honor's schedule. If the
   3    defense counsel were asking for a summer or a fall trial date,
   4    I would object because I am cognizant --
   5               THE COURT: That's a nonstarter.
   6               MR. SHAKESHAFT: Yeah, understood, understood.
   7               THE COURT: Totally a nonstarter, so you're setting
   8    up a false argument.
   9               MR. SHAKESHAFT: I'm not trying --
  10               THE COURT: Okay?
  11               MR. SHAKESHAFT: -- at this point --
  12               THE COURT: The best I can do to accommodate all the
  13    concerns -- I think, you know, I'm jammed in with these trial
  14    dates, so we'll go with February 17th. That's all I can do.
  15    Either way, somebody's going to lose.
  16               MR. HERNANDEZ: I thought the Court mentioned March.
  17    If we could have March, it would be appreciated, your Honor.
  18               THE COURT: Yeah, it would be appreciated, but not
  19    for Mr. Cheronis who's got this other trial. That's the
  20    problem. So I'm trying to navigate these waters, which all
  21    started by an unopposed motion that I'm willing to grant
  22    because I'm more than happy to just stick to January 21st.
  23               But I think given all the considerations, I don't
  24    think it's unfair to proceed on February 17th, so that's what
  25    we're going to do.
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 12 of 16 PageID #:1530

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   1               MR. SHAKESHAFT: Your Honor, if I may indulge the
   2    Court simply for a one-week extension to -- from December 6th
   3    to December 13th.
   4               THE COURT: Okay.
   5               MR. SHAKESHAFT: I would phrase it this way, for the
   6    initial production of if I do run into an issue that there --
   7    I can't -- I don't want to do a Santiago proffer piecemeal.
   8    There's an 80-page one that already is.
   9               THE COURT: Okay.
  10               MR. SHAKESHAFT: So I will -- I will file everything
  11    before December 13th unless I've not been authorized to do so,
  12    in which case would it be acceptable to your Honor if I need,
  13    for example, one more week in light of just to get an agreed
  14    motion and put it on file to take it to the 20th? I don't
  15    want to go into next year in terms of producing this stuff.
  16               THE COURT: Well, I'm not going to prejudge that, but
  17    at this point, there's no pending motions in this case. Do
  18    you understand that?
  19               MR. SHAKESHAFT: I -- there's none that are ripe for
  20    your Honor's consideration. They are -- but those, the
  21    Santiago proffer is a motion. It is a proffer which counsel
  22    is entitled to object to. There will be notice of the 404(b)
  23    that will be coming, so --
  24               THE COURT: I think you're missing my point. There
  25    are no pending motions right now. Is that the case or not?
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 13 of 16 PageID #:1531

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   1               MR. SHAKESHAFT: Well, there are the discovery
   2    motions that we have held in abeyance, so there are
   3    technically pending motions that are not ripe for your Honor.
   4    So as a technical matter, there are pending motions.
   5               I would suggest to your Honor that also for
   6    continuity of counsel, but there are technically pending
   7    motions. So for speedy trial purposes, I would just -- I
   8    would ask that at least that time be excluded through the 6th
   9    when there will be additional things filed that are pending.
  10               THE COURT: Is there any objection to time being
  11    excluded until December 6th?
  12               MR. CHERONIS: There is not, your Honor.
  13               MR. HERNANDEZ: No objection.
  14               THE COURT: Okay. I will exclude time to
  15    December 6th. I'm going to set a status. I think we need
  16    another status on December 11th to see what gets filed.
  17               THE CLERK: You'll be in New York.
  18               THE COURT: Okay. We'll make it December 12th. What
  19    time are we available then?
  20               THE CLERK: 10:00 o'clock in the morning.
  21               THE COURT: Okay. There's no re-entry at that point
  22    because that will be the 5th?
  23               THE CLERK: The 5th.
  24               THE COURT: Okay. December 12th at 10:00 a.m.
  25               MR. SHAKESHAFT: And I'd just ask that time be
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 14 of 16 PageID #:1532

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   1    excluded through the 12th so that I can --
   2               THE COURT: Time will be excluded till the 12th.
   3               MR. CHERONIS: And, your Honor, the last thing I'd
   4    like to ask for, if I could, or ask the government, I guess, I
   5    believe Mr. Shakeshaft has mentioned this, but their expected
   6    trial length because based on -- I believe the 17th is a court
   7    holiday. If we pick --
   8               THE COURT: Okay. We're going on the 18th.
   9               MR. CHERONIS: Okay. I'm sorry. So that's a
  10    Tuesday.
  11               THE COURT: Right.
  12               MR. CHERONIS: I know this case, I know how many
  13    witnesses they're going to call, I know the cross-examination
  14    of the two main witnesses are going to last a long time. It
  15    appears that I'm going to have to file a motion to continue in
  16    front of Judge Feinerman because I do not see this case,
  17    respectfully, ending by March 3rd. I believe Mr. Shakeshaft
  18    had told me at least once that it was potentially two to three
  19    weeks of trial with two defendants.
  20               THE COURT: I think that's a fair request.
  21               MR. SHAKESHAFT: I -- I always -- I emphasized the
  22    word "potential." I do think that a hefty part of this case
  23    is going to be the length of the cross of certain of these
  24    witnesses --
  25               THE COURT: Okay.
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 15 of 16 PageID #:1533

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   1               MR. SHAKESHAFT: -- which I can never predict. This
   2    case will involve right now I would estimate between 8 and 10,
   3    maybe 12 witnesses. There are some -- there are recorded
   4    calls, some of which are lengthy, but it is not a case that's
   5    heavy on phone records and other kinds of things.
   6               So two to three weeks with that leeway I think is
   7    right, depending on, you know, if we go full trial days.
   8    Would your Honor anticipate sitting on Fridays?
   9               THE COURT: Yes. And, yes, I would anticipate full
  10    trial days.
  11               MR. SHAKESHAFT: Then with luck, two weeks, giving
  12    myself the out of leaking into a third and also --
  13               THE COURT: And that's the problem.
  14               MR. CHERONIS: I mean, it's a very considerable
  15    problem for me, your Honor. I prepare for all my cases
  16    throughout the year. I certainly don't wait, you know, until
  17    the last minute, as none of my co-counsels do.
  18               The case with Judge Feinerman is a complicated case.
  19    I guess I'm just going to have to file a motion to continue if
  20    this 18th is a firm date. I don't know what else to do. If
  21    he denies that --
  22               THE COURT: Then you'll be back here.
  23               MR. CHERONIS: -- I'm going to be in some trouble.
  24    Trouble I didn't ask for, I might add, your Honor, but trouble
  25    nonetheless.
Case: 1:09-cr-00383 Document #: 260 Filed: 12/09/13 Page 16 of 16 PageID #:1534

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   1               And I'll talk to the government regarding that and
   2    probably have to order a transcript of this hearing, but, you
   3    know, I guess that's where I stand.
   4               But I don't see this case ending in two weeks, even
   5    picking a jury in a case like this.
   6               THE COURT: Maybe we'll get more information at the
   7    next status hearing. That's all I can tell you.                 I'm
   8    sympathetic toward your situation, and we'll see what we can
   9    do.
  10               But I will exclude time until the 12th at 10:00 a.m.
  11    Thank you. The trial is continued to February 18th.
  12               MR. SHAKESHAFT: Thank you, your Honor.
  13               THE COURT: Thank you.
  14          (Which were all the proceedings heard.)
  15                                    CERTIFICATE
  16          I certify that the foregoing is a correct transcript from
  17    the record of proceedings in the above-entitled matter.
  18    /s/Kathleen M. Fennell                   November 26, 2013
  19
        Kathleen M. Fennell                            Date
  20    Official Court Reporter
  21
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